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10                       UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA
11                         SAN FERNANDO VALLEY DIVISION
12                                         Case No. 1:24-bk-10646-MB
     In re
13
     SYNAPSE FINANCIAL TECHNOLOGIES,       Chapter 11
14   INC.,
                                           CHAPTER 11 TRUSTEE’S SIXTEENTH
15                                         STATUS REPORT
             Debtor.
16                                         DATE: April 11, 2025
                                           TIME: 10:00 a.m. PT
17                                         PLACE: 303
18                                                21041 Burbank Boulevard
                                                  Woodland Hills, CA 91367 and
19                                                Via ZoomGov

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 1              TO THE HONORABLE MARTIN BARASH, UNITED STATES BANKRUPTCY JUDGE,

 2   THE OFFICE OF THE UNITED STATES TRUSTEE AND INTERESTED PARTIES:

 3              I, Jelena McWilliams (the “Trustee”), the duly appointed, qualified and acting chapter 11

 4   trustee for the estate of Debtor Synapse Financial Technologies, Inc. (“Synapse” or the “Debtor”),

 5   hereby submit my sixteenth “Chapter 11 Trustee’s Status Report” (the “Report”) and represent as

 6   follows:

 7                                               I.

 8                                           TIMELINE OF EVENTS

 9              A.     Filing of the Chapter 11 Case and Appointment of Chapter 11 Trustee

10              On April 22, 2024, the Debtor filed a voluntary chapter 11 petition, schedules and statement

11   of financial affairs.

12              On May 24, 2024, following a hearing, the Court entered an order appointing a chapter 11

13   trustee (the “Appointment Order”), and Jelena McWilliams was appointed by the U.S. Trustee as the

14   Chapter 11 Trustee in this Chapter 11 Case (the “Case”). [Dkt. No. 196].

15              On June 6, 2024, the Trustee filed the “Chapter 11 Trustee’s Initial Status Report” (the

16   “Initial Report”), and, on June 7, 2024, the Trustee presented the Initial Report at a Status

17   Conference before the Court. On June 13, 2024, the Trustee filed the “Chapter 11 Trustee’s Second

18   Status Report” (the “Second Report”), and, on June 14, 2024, the Trustee presented the Second

19   Report at a Status Conference before the Court. On June 20, 2024, the Trustee filed the “Chapter 11

20   Trustee’s Third Status Report” (the “Third Report”), and, on June 21, 2024, the Trustee presented

21   the Third Report at a Status Conference before the Court. On July 2, 2024, the Trustee filed the

22   “Chapter 11 Trustee’s Fourth Status Report” (the “Fourth Report”), and, on July 3, 2024, the Trustee

23   presented the Fourth Report at a Status Conference before the Court. On July 16, 2024, the Trustee

24   filed the “Chapter 11 Trustee’s Fifth Status Report” (the “Fifth Report”), and, on July 17, 2024, the

25   Trustee presented the Fifth Report at a Status Conference before the Court. On July 31, 2024, the

26   Trustee filed the “Chapter 11 Trustee’s Sixth Status Report” (the “Sixth Report”), and, on August 1,

27   2024, the Trustee presented the Sixth Report at a Status Conference before the Court. On August 13,

28   2024, the Trustee filed the “Chapter 11 Trustee’s Seventh Status Report” (the “Seventh Report”),
                                                          1

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 1   and, on August 14, 2024, the Trustee presented the Seventh Report at a Status Conference before the

 2   Court. On August 29, 2024, the Trustee filed the “Chapter 11 Trustee’s Eighth Status Report” (the

 3   “Eighth Report”), and, on August 30, 2024, the Trustee presented the Eighth Report at a Status

 4   Conference before the Court. On September 12, 2024, the Trustee filed the “Chapter 11 Trustee’s

 5   Ninth Status Report” (the “Ninth Report”), and, on September 13, 2024, the Trustee presented the

 6   Ninth Report at a Status Conference before the Court. On September 26, 2024, the Trustee filed the

 7   “Chapter 11 Trustee’s Tenth Status Report” (the “Tenth Report”), and, on September 27, 2024, the

 8   Trustee presented the Tenth Report at a Status Conference before the Court. On October 22, 2024

 9   the Trustee filed the “Chapter 11 Trustee’s Eleventh Status Report” (the “Eleventh Report”), and, on

10   October 23, 2024, the Trustee presented the Eleventh Report at a Status Conference before the

11   Court. On November 12, 2024 the Trustee filed the “Chapter 11 Trustee’s Twelfth Status Report”

12   (the “Twelfth Report”), and, on November 13, 2024, the Trustee presented the Twelfth Report at a

13   Status Conference before the Court. On December 2, 2024 the Trustee filed the “Chapter 11

14   Trustee’s Thirteenth Status Report” (the “Thirteenth Report”), and, on December 3, 2024, the

15   Trustee presented the Thirteenth Report at a Status Conference before the Court. On January 6, 2025

16   the Trustee filed the “Chapter 11 Trustee’s Fourteenth Status Report” (the “Fourteenth Report”),

17   and, on January 7, 2025, the Trustee presented the Fourteenth Report at a Status Conference before

18   the Court. On February 6, 2025 the Trustee filed the “Chapter 11 Trustee’s Fifteenth Status Report”

19   (the “Fifteenth Report”), and, on February 7, 2025, the Trustee presented the Fifteenth Report at a

20   Status Conference before the Court. Additional information about the timeline of events in this Case

21   and the Debtor’s historical business operations can be found in these previous reports.

22              B.     Status of Reconciliation and Release of End User Funds

23              As previously reported the Trustee understands that the Partner Banks have paid to end users

24   the vast majority of the $219 million that were frozen as of May 2024. Distributions are ongoing,

25   with Partner Banks continuing to pay out additional amounts based on reconciliation findings,

26   confirmation of payment instructions and the reprocessing of failed payments.

27              As discussed in previous Reports, it appears that a shortfall between the amount of funds

28   held at some Partner Banks and funds expected to be held based on the Synapse ledger existed prior
                                                          2

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 1   to Synapse’s bankruptcy. As a result, many end users still have not received their expected amount

 2   of funds and these amounts are subject to ongoing appeals processes and litigation.

 3              Due to the significant costs and complexities of maintaining and interpreting Synapse’s data

 4   and systems and the lack of estate resources, the Trustee and her professionals have wound down

 5   estate reconciliation activities.

 6              C.     Data Preservation, Access and Analysis

 7              As of the time of this report, copies of the MongoDB ledger and copies of two AWS data

 8   subsets consisting of historical trial balance data and reconciliation files have been produced to the

 9   Partner Banks. After extensive outreach and discussions, no party has come forward to assume legal

10   custody and the costs of preserving additional Synapse data beyond the final disposition of this Case.

11              D.     Asset Sales

12              The Trustee and her professionals analyzed several inquiries and deal proposals regarding

13   Synapse assets during the course of this Case. Due to the estate’s lack of resources and significant

14   amount of debt, no feasible deals could be reached that would allow meaningful value to be returned

15   to the estate. As of the time of the report, the Trustee has concluded negotiations and determined

16   there are no actionable opportunities for a sale of the debtor’s assets.

17              E.     Dismissal or Conversion

18              The Trustee will conclude necessary estate administration activities and intends to file a

19   motion seeking dismissal of this Case or, in the alternative, conversion of this Case to chapter 7, as

20   appropriate.

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 3                                                   JELENA MCWILLIAMS
      DATED: April 10, 2025
                                                     CHAPTER 11 TRUSTEE
 4

 5                                                       /S/ Jelena McWilliams
                                                     By: ___________________________________
 6                                                       Jelena McWilliams
 7                                                       Chapter 11 Trustee

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Cravath, Swaine & Moore LLP, Two Manhattan West, 375 Ninth Avenue, New York, NY 10001

A true and correct copy of the foregoing document entitled (specify): __________________________________________
CHAPTER 11 TRUSTEE’S SIXTEENTH STATUS REPORT                                                                           _
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
4/10/2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Ron Bender rb@lnbyg.com
David A Berkley david.berkley@wbd-us.com, mary.koo@wbd-us.com;Sul.Lee@wbd-us.com
J Scott Bovitz bovitz@bovitz-spitzer.com
Rudy J Cerone rcerone@mcglinchey.com, lgraff@mcglinchey.com;jingargiola@mcglinchey.com
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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 4/10/2025, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

None.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 4/10/2025, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

None.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  4/10/2025                         Robert N. Greenfield                                         /s/ Robert N. Greenfield
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
